UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

TIMOTHY J. FAST,
on behalf of himself and all
others similarly situated,

Plaintiff,
Vv. Case No.: 16-CV-1637
CASH DEPOT, LTD.,

Defendant.

 

STIPULATION

 

IT IS HEREBY STIPULATED by and between the attorneys for the parties hereto:

WHEREAS, Cash Depot has recently submitted payment to employees for additional
wages because, without conceding that the allegations in the Plaintiff's Complaint are correct, it
believes the cost of litigation would exceed the amounts that would be due and owing if the
Plaintiffs allegations were correct; and

WHEREAS, the Plaintiff's counsel has evaluated on a preliminary basis the calculations
made for such payment to the Plaintiff and has questioned the accuracy thereof; and

WHEREAS, the parties have agreed that the Plaintiff's counsel may meet with
appropriate personnel at the certified public accounting firm which made such calculations for
Cash Depot to examine the accuracy thereof; and

WHEREAS, the parties desire to avoid or reduce the time and expense of further

litigation in the event that such calculations and payments are accurate;

    
    

EXHIBIT

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NOW, THEREFORE, it is hereby stipulated by and between the parties that the
scheduling order in this matter may be vacated upon approval of the Court and that counsel for

the Plaintiff should advise the Court within 60 days of the status of the matter.

Dated this 6" day of July, 2017.

LAW FIRM OF CONWAY OLEJNICZAK & JERRY, S.C.
Attorneys for Defendant

By: __s/George Burnett
George Burnett (State Bar #1005964)
Jodi Arndt Labs (State Bar #1003359)

Dated this 6" day of July, 2017.

WALCHESKE & LUZI, LLC
Attorneys for Plaintiff

By:__s/James A. Walcheske
James A. Walcheske, (State Bar #1065635)
Scott S. Luzi, (State Bar #1067405)
Jesse R. Dill, (State Bar No. 1061704)

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CASH DEPOT, LTD.,

Defendant.

 

ORDER

 

Upon the foregoing Stipulation and the record and proceedings herein, and the
Court being fully advised in the premises;

IT IS HEREBY ORDERED that all case proceedings be stayed for a period of
sixty (60) days and that Plaintiffs counsel shall advise the Court of the status of this matter
within sixty (60) days hereof.

Dated this _— day of July, 2017.

BY THE COURT:

 

Honorable William C. Griesbach
Judge U.S. District Court Eastern District

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